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                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 JONATHAN T. BURNS, et al.                        :             CIVIL ACTION
          Plaintiffs                              :
                                                  :             NO. 21-4373
               v.                                 :
                                                  :
 SUNBEAM PRODUCTS INC., et al.                    :
          Defendants                              :

                          REVISED SCHEDULING O R D E R
       AND NOW, this 2nd day of June 2022, upon consideration of the parties’ joint motion for

extension of deadlines, [ECF 26], and for good cause shown, it is hereby ORDERED that the motion is

GRANTED, and the deadlines are revised as follows:

       1. Prior to the completion of discovery, the parties may request a referral to the Honorable
          Magistrate Judge Lynne A. Sitarski, United States District Court, to schedule a settlement
          conference. Counsel, the parties, and/or persons with full settlement authority must appear
          at the conference unless excused in advance by Magistrate Judge Sitarski.
       2. All fact discovery shall be completed by August 5, 2022.
       3. Plaintiffs’ expert reports shall be due by September 6, 2022.
       4. Defendants’ expert reports shall be due by October 5, 2022.
       5. Any rebuttal expert reports are due by October 19, 2022.
       6. Any dispositive motions shall be filed by November 18, 2022, and any response to the
          dispositive motions shall be filed within twenty-one (21) days of the filing of the motion.
       7. A final pretrial conference will be held on or about February 20, 2023, to schedule the trial
          date. Lead trial counsel for each party and any unrepresented party are required to attend.
          Fourteen (14) days prior to the final pretrial conference, all parties shall file and submit to the
          Court a pretrial memorandum that comports with Local Rules 16.1(c) and (d).
       Any failure to comply with this Order may result in sanctions.

                                              BY THE COURT:
                                              /s/ Nitza I. Quiñones Alejandro
                                              NITZA I. QUIÑONES ALEJANDRO
                                              Judge, United States District Court
